
In re Parfait, Toby James; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Terrebonne, 32nd Judicial District Court Div. A, No. 94-FELY-251-650; to the Court of Appeal, First Circuit, No. 2013 KW 1274.
Granted; relief denied; sentence corrected. The district court erred in granting relator’s motion to correct an illegal sentence by amending his sentence to reflect that it is no longer without benefit of parole. Although relator seeks review because the district court did not provide him the remedy he sought — resentencing according to the applicable range for the next responsive verdict of manslaughter— the district court erred in granting relator any relief. The decision in Miller v. Alabama, 567 U.S. -, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012), is not retroactive to final sentences. State v. Tate, 12-2763 (La.11/5/13), 130 So.3d 829, cert. denied, Tate v. Louisiana, — U.S. -, 134 S.Ct. 2663, 189 L.Ed.2d 214, (2014). The district court’s order is therefore vacated and relator’s original sentence of life imprisonment at hard labor without benefit of parole, probation, or suspension of sentence is reinstated. See State ex rel. Nash v. State, 13-2032 (La.9/9/14), 147 So.3d 1111; State ex rel. Greene v. State, 13-1972 (La.9/19/14), 147 So.3d 685; State ex rel. Green v. State, 13-0063 (La.9/19/14), 147 So.3d 686.
WEIMER, J., recused.
HUGHES, J., would deny.
